Case 1:21-cv-00806-LF Document 1 Filed 08/20/21 Page 1 of 9




                                              CV 21-806
Case 1:21-cv-00806-LF Document 1 Filed 08/20/21 Page 2 of 9
Case 1:21-cv-00806-LF Document 1 Filed 08/20/21 Page 3 of 9
Case 1:21-cv-00806-LF Document 1 Filed 08/20/21 Page 4 of 9
Case 1:21-cv-00806-LF Document 1 Filed 08/20/21 Page 5 of 9
Case 1:21-cv-00806-LF Document 1 Filed 08/20/21 Page 6 of 9
Case 1:21-cv-00806-LF Document 1 Filed 08/20/21 Page 7 of 9
Case 1:21-cv-00806-LF Document 1 Filed 08/20/21 Page 8 of 9
Case 1:21-cv-00806-LF Document 1 Filed 08/20/21 Page 9 of 9
